       Case 2:23-bk-50036        Doc 7 Filed 01/09/23 Entered 01/09/23 14:58:45                      Desc Ntc
                                 Def./14 Days/Schedules Ch Page 1 of 2
Form a0ntcsch
(Rev. 6/18)
                                  UNITED STATES BANKRUPTCY COURT
                                         Southern District of Ohio
                                          170 North High Street
                                        Columbus, OH 43215−2414



In Re: Sherri Ann Borghese                                 Case No.: 2:23−bk−50036

                Debtor(s)                                  Chapter: 13
SSN/TAX ID:
     xxx−xx−6914                                           Judge: Mina Nami Khorrami



                  ORDER REGARDING DEFICIENT FILING BY INDIVIDUAL DEBTOR
                AND SETTING FOURTEEN (14) DAY DEADLINE FOR COMPLIANCE; AND
                           NOTICE OF IMMINENT DISMISSAL OF CASE

    The above−captioned bankruptcy case was filed without certain forms required by the Bankruptcy Code and/or
Federal and Local Rules of Bankruptcy Procedure. See 11 U.S.C §§ 109(h), 342(b), 521(a)(1); Federal Rules of
Bankruptcy Procedure 1007 and 2016; and Local Bankruptcy Rules 1007−1, 1007−2, 1015−2 and 2016−1(b)(1).
Most required official and local forms are available on the on the court's website (www.ohsb.uscourts.gov), under
the tab "Rules & Forms." The following required forms are missing and must be filed within fourteen (14) days of
the petition filing date:

I. Forms required by 11 U.S.C. § 521(a)(1);

       Attorney's certification regarding notice to debtor required by 11 U.S.C. § 342(b) (Official Form 101, Part 7)

       Signature of debtor and certification regarding notice to debtor required by 11 U.S.C. § 342(b) (Official
        Form 101, Part 7)

       Schedules A/B − Property (Official Form 106A/B)

       Schedule D − Creditors Who Have Claims Secured by Property (Official Form 106D)

       Schedule E/F − Creditors Who Have Unsecured Claims (Official Form 106E/F)

       Schedule I − Your Income; must include an answer to Question 13 (Official Form 106I)

       Schedule J − Your Expenses; must include an answer to Question 24 (Official Form 106J)

       Schedule J−2 − Expenses for Separate Household of Debtor 2 (Official Form 106J−2)

       Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)

       Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period. (Official
       Form 122C−1)

       Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119)
      Case 2:23-bk-50036         Doc 7 Filed 01/09/23 Entered 01/09/23 14:58:45                      Desc Ntc
                                 Def./14 Days/Schedules Ch Page 2 of 2

II. Other required forms:


       Explain Your Efforts to Receive a Briefing About Credit Counseling − Debtor (Official Form 101, Part 5)

       Explain Your Efforts to Receive a Briefing About Credit Counseling − Joint Debtor (Official Form 101,
       Part 5)

       Certificate of Credit Counseling − Debtor (certificate is provided by credit counseling agency)

       Certificate of Credit Counseling − Joint Debtor (certificate is provided by credit counseling agency)

       Certification of exigent circumstances under 11 U.S.C. § 109(h)(3) (separate sheet attached to Official
       Form 101)

       Motion for waiver of credit counseling requirement under 11 U.S.C. § 109(h) (4) (separate motion)

       Schedule C − The Property You Claim as Exempt (Official Form 106C)

       Schedule G − Executory Contracts and Unexpired Leases (Official Form 106G)

       Schedule H − Your Codebtors (Official Form 106H)

       Summary of Your Assets and Liabilities and Certain Statistical Information (Official Form 106Sum)

       Declaration About an Individual Debtor's Schedules (Official Form 106Dec)

       Chapter 13 Calculation of Your Disposable Income. (Official Form 122C−2)

       Chapter 13 Attorney Compensation Disclosure Statement (Local Bankruptcy Rule Form 2016−1(b))

       Statement of Related Cases (Local Bankruptcy Rule Form 1015−2)

       Statement About Your Social Security Numbers (Official Form 121)

       Verification of List of Creditors (Local Bankruptcy Rule 1007−2; available on the court's website
       at (www.ohsb.uscourts.gov/pdf−writable−forms)


  THIS CASE MAY BE DISMISSED WITHOUT FURTHER NOTICE IF THE DEBTOR(S) FAILS TO
COMPLY WITH THIS ORDER.


SO ORDERED.

Dated: January 9, 2023




                                                          Mina Nami Khorrami
                                                          United States Bankruptcy Judge
